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                                                                         5
                                                                         6                              IN THE UNITED STATES DISTRICT COURT
                                                                         7
                                                                                                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         8
                                                                         9   MEDTRONIC, INC.,
                                                      10                                   Plaintiff,                               No. C 04-02201 JSW
                                                      11                       v.                                                   COURT’S PROPOSED VERDICT
United States District Court




                                                                                                                                    FORM
                                                      12                     DR. GEOFFREY WHITE,
                                                      13                                   Defendant.
                               For the Northern District of California




                                                                                                                           /
                                                      14
                                                                             LA BIOMEDICAL RESEARCH INSTITUTE
                                                      15                     AT HARBOR-UCLA MEDICAL CENTER,
                                                      16                                   Third-Party Intervenor and
                                                                                           Plaintiff,
                                                      17
                                                                              v.
                                                      18
                                                                             GEOFFREY WHITE,
                                                      19
                                                                                           Defendant.
                                                      20
                                                                             _____________________________________/
                                                      21
                                                      22                                     L.A. BIOMED’S CLAIM FOR BREACH OF CONTRACT
                                                      23                     Question 1:   Has L.A. Biomed proved that the Patent and Copyright Agreement existed
                                                      24                                   between it and Dr. White during all relevant times?
                                                      25                                   Yes _________                 No _________
                                                      26
                                                      27                            If your answer to question 1 is “No”, stop here, sign and date the verdict form and
                                                      28                     return it to my Courtroom Deputy. If your answer is “Yes,” continue to question 2.
                                                                               Case 3:04-cv-02201-JSW Document 397 Filed 03/24/06 Page 2 of 3



                                                                         1   Question 2:    Has L.A. Biomed proved that Dr. White conceived the overlapping GAD-graft
                                                                         2                  device during the course of his utilization of any L.A. Biomed research facilities?
                                                                         3                  Yes _____________              No _________________
                                                                         4          Please proceed to question 3.
                                                                         5
                                                                         6   Question 3:    Has L.A. Biomed proved that Dr. White reduced to practice the overlapping
                                                                         7                  GAD-graft device during the course of his utilization of any L.A. Biomed
                                                                         8                  research facilities?
                                                                         9                  Yes _____________              No _________________
                                                      10                            If your answers to questions 2 and 3 are “No,” stop here, sign and date the verdict form
                                                      11                     and return it to my Courtroom Deputy. If you answered “Yes” to either question 2 or question
United States District Court




                                                      12                     3, please continue to question 4.
                                                      13                     Question 4:    Has L.A. Biomed proved that the overlapping GAD-graft device is a possibly
                               For the Northern District of California




                                                      14                                    patentable device under the Patent and Copyright Agreement?
                                                      15                                    Yes _____________              No _________________
                                                      16                            If your answer to question 4 is “No,” stop here, sign and date the verdict form and
                                                      17                     return it to my Courtroom Deputy. If your answer is “Yes,” continue to question 5.
                                                      18                     Question 5:    Has L.A. Biomed proved that it did all or substantially all of the things it was
                                                      19                                    required to do under the Patent and Copyright Agreement or that it was excused
                                                      20                                    from doing so?
                                                      21                                    Yes _____________              No _________________
                                                      22                            If your answer to question 5 is “No,” stop here, sign and date the verdict form and
                                                      23                     return it to my Courtroom Deputy. If your answer is “Yes,” continue to question 6.
                                                      24                     Question 6:    Has L.A. Biomed proved that Dr. White failed to do something that the Patent
                                                      25                                    and Copyright Agreement required him to do?
                                                      26                                    Yes _____________              No _________________
                                                      27                            If your answer to question 6 is “No,” stop here, sign and date the verdict form and
                                                      28                     return it to my Courtroom Deputy. If your answer is “Yes,” continue to question 7.


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                                                                         1   Question 7:     Has L.A. Biomed proved that Dr. White was harmed by any failure by Dr. White
                                                                         2                   to do something the Patent and Copyright Agreement required him to do?
                                                                         3                   Yes _____________             No _________________
                                                                         4            If your answer to question 7 is “No,” stop here, sign and date the verdict form and
                                                                         5   return it to my Courtroom Deputy. If your answer is “Yes,” continue to question 8.
                                                                         6                            DR. WHITE’S AFFIRMATIVE DEFENSES
                                                                         7   Question 8:     Has Dr. White proved his affirmative defense that the statute of limitations bars
                                                                         8                   L.A. Biomed’s claim?
                                                                         9                   Yes _____________             No __________________
                                                      10                              If your answer to question 8, is “No,” proceed to question 10. If your answer is “Yes,”
                                                      11                     proceed to question 9.
United States District Court




                                                      12                     Question 9:     Has L.A. Biomed proved the time and manner of its discovery of its claim
                                                      13                                     against Dr. White and its inability to have made earlier discovery of that claim
                               For the Northern District of California




                                                      14                                     against Dr. White despite reasonable diligence?
                                                      15                                     Yes ______________            No __________________
                                                      16                              If your answer to Question 9 is “Yes,” proceed to question 10. If your answer is “No,”
                                                      17                     stop here, sign and date the verdict form and return it to my Courtroom Deputy.
                                                      18                     Question 10: Has Dr. White proved that L.A. Biomed knew Dr. White was required to fulfill
                                                      19                                     any obligations he had to L.A. Biomed under the Patent and Copyright
                                                      20                                     Agreement; and that L.A. Biomed freely and knowingly gave up its right to have
                                                      21                                     Dr. White perform any such obligations.
                                                      22                                     Yes ________________          No _______________________
                                                      23
                                                      24                     SO SAY WE ALL,
                                                      25                     Dated:
                                                                                                                                       FOREPERSON
                                                      26
                                                      27                     Dated: March 24, 2006
                                                      28                                                                           Judge Jeffrey S. White
                                                                                                                                   United States District Court Judge

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